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Activities Export                                                                                                                          02/21/2025
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Date        Type   Description                            Matter                  User              Qty    Rate ($)   Non-billable ($)   Billable ($)

01/24/2025         ES reviewed order and spoke with       00156-Howard            Elliot Dolby-   1.50h    $675.00                   -   $1,012.50
                    Clyde regarding the order and the      Wrongful conviction     Shields
                    fee application: Activity in Case
                    6:23-cv-06561-FPG-MJP Howard
                    v. City of Rochester et al Order on
                    Motion to Compel
                     Unbilled

01/13/2025         Draft motion: ES reviewed and          00156-Howard            Elliot Dolby-   0.50h    $675.00                   -     $337.50
                    edited CMR's draft of the reply        Wrongful conviction     Shields
                    memorandum: 2025-01-13-Grand
                    Jury MTC Reply v3 - es.docx
                     Unbilled

01/10/2025         Draft motion: ES drafted first draft   00156-Howard            Elliot Dolby-   1.30h    $675.00                   -     $877.50
                    of reply and sent to CMR for           Wrongful conviction     Shields
                    review: 2025 1 10 Reply GJ and
                    PSI (Howard).docx
                     Unbilled

01/07/2025         Co-Counsel Meeting: Call with          00156-Howard            Elliot Dolby-   0.30h    $675.00                   -     $202.50
                    CMR about the County's                 Wrongful conviction     Shields
                    opposition and drafting the reply
                    brief
                     Unbilled

01/06/2025         Review of document: ES reviewed        00156-Howard            Elliot Dolby-   0.80h    $675.00                   -     $540.00
                    and took notes on defendants'          Wrongful conviction     Shields
                    opposition memorandum: 48 DEF
                    mol opp sanctions.pdf
                     Unbilled

12/23/2024         Draft motion: ES drafted               00156-Howard            Elliot Dolby-   0.20h    $675.00                   -     $135.00
                    Document: 2024 12 23 NOM               Wrongful conviction     Shields
                    compel sanctions (howard).docx

                                                                                                   12.10h                         $0.00    $8,167.50
                                                                                                                                  0.00h       12.10h

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Date        Type   Description                            Matter                  User              Qty    Rate ($)   Non-billable ($)   Billable ($)

                     Unbilled

12/23/2024         ES drafted Document: 2024 12 23        00156-Howard            Elliot Dolby-   0.50h    $675.00                   -     $337.50
                    Decl in support of Mot to Compel       Wrongful conviction     Shields
                    and for sanctions.docx
                     Unbilled

12/23/2024         Draft motion: ES incorporated          00156-Howard            Elliot Dolby-   0.70h    $675.00                   -     $472.50
                    CMR edits to the motion and            Wrongful conviction     Shields
                    finalized for filing: 2024 12 23
                    Compel Sanctions v4 (howard)
                    CMR edits.docx
                     Unbilled

12/22/2024         Draft motion: ES edited entire         00156-Howard            Elliot Dolby-   1.50h    $675.00                   -   $1,012.50
                    document and formatted properly,       Wrongful conviction     Shields
                    completing first draft, then sent to
                    CMR for review: 2024 12 22
                    Compel Sanctions v3
                    (howard).docx
                     Unbilled

12/22/2024         Draft motion: ES edited and            00156-Howard            Elliot Dolby-   1.30h    $675.00                   -     $877.50
                    redrafted argument section: 2024       Wrongful conviction     Shields
                    12 22 Compel Sanctions v2
                    (howard).docx
                     Unbilled

12/21/2024         Legal Research: ES reviewed case       00156-Howard            Elliot Dolby-   0.20h    $675.00                   -     $135.00
                    for motion: New York State Nat         Wrongful conviction     Shields
                    Organization for Women v
                    Terry.doc
                     Unbilled

12/21/2024         Legal Research: ES reviewed case       00156-Howard            Elliot Dolby-   0.20h    $675.00                   -     $135.00

                                                                                                   12.10h                         $0.00    $8,167.50
                                                                                                                                  0.00h       12.10h

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Date        Type   Description                             Matter                  User              Qty    Rate ($)   Non-billable ($)   Billable ($)

                    for motion: Grief v Nassau              Wrongful conviction     Shields
                    County.doc
                     Unbilled

12/21/2024         Legal Research: ES reviewed case        00156-Howard            Elliot Dolby-   0.20h    $675.00                   -     $135.00
                    for motion: Bethea v City of New        Wrongful conviction     Shields
                    York.doc
                     Unbilled

12/20/2024         Draft motion: ES edited preliminary     00156-Howard            Elliot Dolby-   0.60h    $675.00                   -     $405.00
                    statement and factual background:       Wrongful conviction     Shields
                    2024 12 20 Compel Sanctions v2
                    (howard).docx
                     Unbilled

12/20/2024         Draft motion: ES outlined and           00156-Howard            Elliot Dolby-   1.20h    $675.00                   -     $810.00
                    began drafting memorandum: 2024         Wrongful conviction     Shields
                    12 20 Compel Sanctions v1
                    (howard).docx
                     Unbilled

12/20/2024         ES drafted and filed letter             00156-Howard            Elliot Dolby-   0.30h    $675.00                   -     $202.50
                    requesting conference re GJ and         Wrongful conviction     Shields
                    PSI: Activity in Case
                    6:23-cv-06561-FPG-MJP Howard
                    v. City of Rochester et al Motion for
                    Discovery
                     Unbilled

12/20/2024         After discussing with Clyde, ES         00156-Howard            Elliot Dolby-   0.10h    $675.00                   -      $67.50
                    drafted email to AC re refusal to       Wrongful conviction     Shields
                    produce GJ and PSI: Re: Howard
                    v. City of Rochester et al., No.
                    23-cv-6561 - Depo noticing &
                    unsealing order

                                                                                                    12.10h                         $0.00    $8,167.50
                                                                                                                                   0.00h       12.10h

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Date        Type   Description                           Matter                  User              Qty    Rate ($)   Non-billable ($)   Billable ($)

                     Unbilled

12/20/2024         ES reviewed email from AC not         00156-Howard            Elliot Dolby-   0.60h    $675.00                   -     $405.00
                    producing GJ and PSI, and called      Wrongful conviction     Shields
                    Clyde to discuss: RE: Howard v.
                    City of Rochester et al., No.
                    23-cv-6561 - Depo noticing &
                    unsealing order
                     Unbilled

12/20/2024         ES reviewed order saying to make      00156-Howard            Elliot Dolby-   0.10h    $675.00                   -      $67.50
                    motion: Activity in Case              Wrongful conviction     Shields
                    6:23-cv-06561-FPG-MJP Howard
                    v. City of Rochester et al Order on
                    Motion for Discovery
                     Unbilled
                                                                                                  12.10h                         $0.00    $8,167.50
                                                                                                                                 0.00h       12.10h




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